Case 3:06-cv-02123-G Document 22 Filed 12/14/07 Page1iof2 PagelD 80

IN THE UNITED STATES COURT OF APPEALS
U.8. COURT OF APPEALS HOR THE FIFTH CIRCUIT

 

  

 

 

 

 

 

 

 

 

FILED
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CHARLES R. PALBRUGE USDC No. 3:06-CV-212) FILED.
ARTHUR W CARSON | Lo3 1 A 200F |
Petitioner-Appeftae DISTRICT tT

NATHANIEL QUARTERMAN, DIRECTOR, TEXAS DEPARTMENT OF
CRIMINAL JUSTICE, CORRECTIONAL INSTITUTIONS DIVISION

Respondent-Appellee

 

Appeal from the United States District ,QQuthoy
for the Northern District of Texas — Attest nro 1 4 2007
Cleck, U. 3-Gourt of Eppectie, Filth Clwlt
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ORDER: Deputy
Mew Orleana, Louisiana

Arthur W. Carson, Texas prisoner # 517349, moves for a certificate of
appealability (COA) to appeal the denial of his 28 U.S.C. § 2254 petition that

challenged the denial of parole from his attempted murder conviction. He

 

argues that his due process rights were infringed when he was denied release to
parole after a determination that he was unsuitable.

Carson, however, has not shown “that reasonable jurists would find the
district court’s assessment of the constitutional claims debatable or wrong.”
Slack v. McDaniel, 529 U.S. 478, 484 (2000). His COA motion is therefore
DENIED.

 

 

RHESA H, BARKSDALE
UNITED STATES CIRCUIT JUDGE

 
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United States Court of Appeals

FIFTH CIRCUIT
OFFICE OF THE CLERK

CHARLES R. FULBRUGE HI TEL. 504-310-7700
CLERK 600 S. MAESTRI PLACE
NEW ORLEANS, LA 70130

December 11, 2007

Ms Karen S Mitchell, Clerk
Northern District of Texas, Dallas
United States District Court

 

   

Room 1452 ——e Tro
1100 Commerce Street | IO IVED
Dallas, TX 75242 ; ooo —

No. 07-10563 Carson v. Quarterman
USDC No. 3:06-CV-2123

 

Enclosed is a certified copy of the judgment issued as the
mandate.

Record/original papers/exhibits are returned: ( 1 ) Box (SCP).

The electronic copy of the record has been recycled.

Fol du- Sincerely,
ee sce CHARLES R. FULBRUGE III, Clerk

By: NMedstoie Obese

Madeline Chigoy, Députy Clerk
504-310-7691 .

 

cc: w/encl:
Mr Arthur Carson
Mr Jeremy A Valdez

MDT-1
